948 F.2d 1290
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.John Francis TOBIN;  Dorothy M. Tobin, husband and wife,Plaintiffs-Appellants,v.Manuel LUJAN, Secretary of the Department of Interior of theUnited States of America;  UNITED STATES OFAMERICA, Defendants-Appellees.
    No. 91-1542.
    United States Court of Appeals, Sixth Circuit.
    Nov. 14, 1991.
    
      Before MERRITT, Chief Judge, RALPH B. GUY, Jr., Circuit Judge, WELLFORD, Senior Judge.
    
    ORDER
    
      1
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      2
      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    